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                                   EXHIBIT1
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respondents’ interactions with the media demonstrate that they have not treated the underlying litigation’s

subject matter as “sensitive and highly personal” and undermine their claim that identification would put

them in danger. Petitioners also contend that they would be “highly prejudic[ed]” by allowing the

proceedings to go forward anonymously, because petitioners’ names have been used in media and social

media while respondents “continue to enjoy the cloak of pseudonymity.”

       The underlying litigation concerns respondents’ attempt to undo a final order of adoption of a child

who they assert belongs with their family. Respondents assert that they and their family members face danger

if respondents’ presence in the United States and participation in the underlying litigation becomes known in

respondents’ home country.

       Upon consideration of the motion and petitioners’ opposition thereto, we find that it is appropriate to

allow the parties to proceed under their initials, especially given that respondents assert that the danger

flowing from identification affects not only themselves but also family members who are not parties to the

underlying litigation. Am. Online, Inc., 261 Va. at 363, 364. Therefore, respondents’ motion is granted, and

the style of this case hereby is amended to substitute the parties’ initials for their names. Accordingly, the

case must hereinafter be styled as J.M. and S.M. v. A.A. and F.A.



                                          A Copy,

                                                  Teste:

                                                                      A. John Vollino, Clerk

                                                  By:

                                                                      Deputy Clerk




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